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             IN THE UNITED STATES DISTRICT COURT FOR                           '
                   THE SOUTHERN DISTRICT OF GEORGIA 17 J[jf_ |fl yii.«c-
                              QAVAKfTjaw nxvTSTnw                         '

LEROY CHISHOLM,


       Petitioner,

V.                                                 CASE NOS. CV417-125
                                                                 CR413-007
UNITED STATES OF AMERICA,


       Respondent.


                                   ORDER



       Before the Court is the Magistrate Judge's Report and

Recommendation        (Doc.    11),    to    which   objections      have      been

filed    (Doc.    12).     After   a   careful     de     novo   review   of   the

record,    the     Court    concludes       that   Petitioner's      objections

are      without      merit.       Accordingly,            the     Report      and

Recommendation is ADOPTED              as the Court's opinion in this

case. As a result. Petitioner's 28 U.S.C. § 2255 Petition

is    DENIED.    In   addition.    Petitioner        is    not   entitled     to   a

Certificate      of   Appealability,         rendering      moot   any    request

for in forma pauperis status on appeal. The Clerk of Court

is DIRECTED to close this case.

                          rr
        SO ORDERED this 3/^ day of July 2017.


                                         WILLIAM T. MOORE, JR.
                                            UNITED STATES DISTRICT        COURT
                                         SOUTHERN       DISTRICT OF GEORGIA
